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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


MATTHEW VANDERSLOOT, individually
and on behalf of all others similarly situated,           Civil Action No. 2:24-cv-07096-JMW

         Plaintiffs,

                 v.
                                                          AFFIDAVIT IN SUPPORT OF
CHARLES BARATTA LLC, D/B/A PRIME                          MOTION TO ADMIT COUNSEL
MARKETING.                                                PRO HAC VICE

         Defendants.



         I, LAURA E. KOGAN, being duly sworn, hereby depose and say as follows:

         1.      I am a Partner with the law firm of Benesch, Friedlander, Coplan & Aronoff LLP

located at 127 Public Square, Suite 4900, Cleveland, Ohio 44114.

         2.      I submit this affidavit in support of my motion for admission to practice pro hac

vice in the above-captioned matter.

         3.      As shown in the Certificate of Good Standing annexed hereto, I am a member in

good standing of the bar of the State of Ohio.

         4.      There are no pending disciplinary proceedings against me in any state or federal

court.

         5.      I have not been convicted of a felony.

         6.      I have not been censured, suspended, disbarred or denied admission or readmission

by any court.

         7.      My Ohio Attorney Registration number is: 0087453.
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        8.    Wherefore, affiant respectfully submits that she be permitted to appear as counsel

and advocate pro hac vice in 2:24-cv-07096-JMW for Defendant Charles Baratta LLC d/b/a Prime

Marketing.




Dated: November __, 2024                       Laura E. Kogan (OH 0087453)
                                               BENESCH, FRIEDLANDER, COPLAN &
                                                 ARONOFF LLP
                                               127 Public Square, Suite 4900
                                               Cleveland, Ohio 44114-2378
                                               Telephone: 216.363.4500
                                               Facsimile: 216.363.4588
                                               Email: lkogan@beneschlaw.com



        SWORN TO BEFORE ME and subscribed in my presence this ____ day of November,

2024.




                                                  Notary Public




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